        Case 1:22-cv-10904-JSR Document 141-3 Filed 05/11/23 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


 GOVERNMENT OF THE UNITED STATES
 VIRGIN ISLANDS,                 Case No. 22-cv-10904-JSR


                        Plaintiffs,                 [PROPOSED] ORDER FOR
                                                    ADMISSION PRO HAC VICE
 v.

 JPMORGAN CHASE BANK, N.A.,

                        Defendant.



       The motion of Andres O’Laughlin for admission to practice pro hac vice in the above-

captioned action is granted.

       Applicant has declared that he is a member in good standing of the bar of the state of

Massachusetts, and that his contact information is as follows:

       Wilmer Cutler Pickering Hale and Dorr LLP
       60 State Street
       Boston, MA 02109
       Tel.: (617) 526-6515
       Andy.Olaughlin@wilmerhale.com

       Applicant having requested admission pro hac vice to appear for all purposes as counsel

for Defendant JPMorgan Chase Bank, N.A. in the above-captioned action,

       IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in the

above-captioned case in the United States District Court for the Southern District of New York.

       All attorneys appearing before this Court are subject to the Local Rules of this Court,

including the Rules governing discipline of attorneys.




                                                1
Case 1:22-cv-10904-JSR Document 141-3 Filed 05/11/23 Page 2 of 2




Dated:                  , 2023
         New York, NY

                                 The Honorable Jed S. Rakoff
                                 United States District Judge




                                   2
